      Case 5:21-cv-06412-SVK Document 11 Filed 02/23/22 Page 1 of 1




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6
7                         UNITED STATES DISTRICT COURT
8                        NORTHERN DISTRICT OF CALIFORNIA
9      SCOTT JOHNSON                                   Case: 5:21-cv-06412-SVK
10             Plaintiff,                              Plaintiff’s Notice of Voluntary
11       v.                                            Dismissal With Prejudice
12     NABRIK INC., a California
       Corporation                                     Fed. R. Civ. P. 41(a)(1)(A)(i)
13
              Defendants.
14
15
16         PLEASE TAKE NOTICE that Plaintiff Scott Johnson, hereby
17   voluntarily dismisses the above captioned action with prejudice pursuant to
18   Federal Rule of Civil Procedure 41(a)(1)(A)(i).
19         Defendant Nabrik Inc., a California Corporation has neither answered
20   Plaintiff’s Complaint, nor filed a motion for summary judgment. Accordingly,
21   this matter may be dismissed without an Order of the Court.
22   Dated: February 22, 2022             CENTER FOR DISABILITY ACCESS
23                                        By: /s/ Amanda Seabock
24                                              Amanda Seabock
                                                Attorneys for Plaintiff
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                 Plaintiff’s Notice of Voluntary Dismissal With Prejudice Pursuant to
                              Federal Rule of Civil Procedure 41(a)(1)(A)(i)
